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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

THOMAS ROBERT MURPHY,
                                                              Case No. 6:20-CV-00766-HZ
                       Plaintiff,
                                                                        ORDER
        v.

LISA BROWN,

                       Defendant.

HERNANDEZ, District Judge.

        Plaintiff initiated his fourth civil rights case by filing

an in forma pauperis Application                      (which the Court granted in a

separate Order) and a document entitled "Cause of Action," which

the Clerk construed as Plaintiff's attempt to file a complaint.

Plaintiff's         pleading      is   not,        however,    a     formal     complaint.   It

lacks        a   caption    and   fails       to    properly       identify      the   parties,

making it difficult to determine the identities of the parties

to   this        lawsuit.   Where      Plaintiff        has    not    filed      a   conforming

complaint with the Court, Plaintiff fails to comply with Fed. R.

Ci v. P. 3 which provides that " [a)                    civil action is commenced by

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filing a complaint with the court." However,                                 even if Plaintiff

were to cure this deficiency, he cannot state a valid claim for

pleading purposes.

                                            STANDARDS

       Dismissal         is     appropriate         if      Plaintiff        fails        to     state     a

claim upon which relief                   can be granted.              See     Fed.        R.    Civ.     P.

12(b) (6).        Plaintiff's          Complaint         should      not     be      dismissed           for

failure      to    state      a    claim,     however,            unless     it     appears          beyond

doubt that Plaintiff can prove no set of facts in support of his

claim which         would         entitle     him      to    relief.        Terracom        v.       Valley

Nat'l Bank,        49 F.3d 555, 558 (9th Cir. 1995).

       Dismissal for failure to state a claim is a. ruling on a

question of law.              Parks School          of Business,           Inc. ,    v.     Symington,

51 F.3d 1480,            1483      (9th Cir.        1995).        Review is limited to the

contents      of        the     Complaint        and        its    Exhibits.         Id         at     1484.

Allegations of fact in the Complaint must be taken as true and

construed in the light most favorable to the non-moving party.

Id.   From        the    facts        alleged,      the      court     also         must        draw     all

reasonable inferences in favor of the Plaintiff.                                     Usher v.           City

of    Los    Angeles,           828    F.2d      556,        561     (9th     Cir.        1987).         But

conclusory allegations, without more,                             are insufficient to state



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a claim. McGlinchy v. Shell Chemical Co.,                              845 F.2d 802, 810 (9th

Cir. 1988).

                                            DISCUSSION

        Plaintiff asserts that while on pretrial release,                                   his GPS

ankle monitor provided discomfort.                             This prompted him to remove

the GPS monitor which,                 in turn,           led the Court and its pretrial

services     employees           to    revoke       his        pretrial      release.     Plaintiff

believes     that       the     revocation of              his      pretrial    release     was    not

called     for    by    his      actions,        and      he     seeks      $260, 000    in damages

resulting        from     the     pain      he      suffered          from     enduring    the     GPS

monitor as        well    as     his    allegedly needless                   incarceration.       Such

claims    are     foreclosed          by    judicial           immunity and quasi-judicial

immunity     which        generally           bar      complaints           against     judges     and

pretrial     services           officers.        Stump         v.    Sparkman,     435    U.S.     349

(1978);    Whitesel        v.    Sengenberger,             222      F.3d 861,     869     (10 th Cir.

2000).     Summary        dismissal           is     therefore             appropriate.     Because

Plaintiff        cannot       cure     this      deficiency           through     amendment,       the

dismissal is with prejudice and without leave to amend.

                                            CONCLUSION

        Plaintiff's       "Complaint"              (#2)     is      summarily     dismissed       with

prejudice.       Additionally,             for the reasons set forth above,                       this

court    certifies        that       any appeal           from      this     order would not        be

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taken in good faith.     See 28 U.S.C.       §   1915(a) (3); Fed. R. App. P.

24 (a) (3) (A).

      IT IS SO ORDERED.

      DATED this   IX\    day of June, 2020.



                                     ko~~1~dez
                                         United States District Judge




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